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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

 GEORGE STEWART, on behalf of                    §
 himself and others similarly situated,,         §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              § Civil Action No. 5:23-cv-00007-H
                                                 §
 TEXAS TECH UNIVERSITY HEALTH                    §
 SCIENCES CENTER, et al., ,                      §
                                                 §
        Defendants.


 UNOPPOSED DEFENDANTS’ MOTION TO REOPEN CASE TO EXTEND DATE TO
                           RESPOND

       Defendants The University of Texas at Austin, UT Austin President Jay Hartzell, Dell

Medical School Dean Claudia Lucchinetti, Dell Medical School Associate Dean of Student Affairs

Steve Smith, and Dell Medical School Director of Admissions Joel Daboub (“UT Austin

Defendants”) move pursuant to Federal Rules of Civil Procedure 6(b)(1)(A), and 7(b)(1), to (1)

reopen the case for the purpose of setting a new response date for UT Austin Defendants, and (2)

set the response date for on or before September 12, 2023. Plaintiff, George Stewart, is unopposed

to this motion, and the Court should grant the requested relief.

                                  FACTUAL BACKGROUND

       Plaintiff’s suit alleges that the defendant medical schools unlawfully consider race and sex

in their admissions processes. Compl. (Dkt. #1) at 8. Among the defendants are five medical

schools that are component institutions of the University of Texas System and 19 various officials

affiliated with the UT medical schools (“UT Defendants”), including UT Austin Defendants. Id.

at 5-8. Plaintiff has also sued Texas Tech University Health Sciences Center (TTUHSC), and five

TTUHSC officials. Id. at 3-4.


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       So far, UT Austin Defendants are the only defendants who have been served. Accordingly,

they are the only defendants with a response date, which is currently set for July 11, 2023. Order

(Dkt. #14) at 1 (Mar. 2, 2023); Order (Dkt. #20) (May 5, 2023). On June 15, 2013, the Court

issued an Administrative Closure Order, closing the case “until defendants file a responsive

pleading,” but allowing the Court to reopen to “extend the answer deadline.” Closure Order (Dkt.

#21) (June 15, 2023).

       Previously, one of the reasons for extension was that defendants were waiting for the

Attorney General’s approval to obtain representation, which has recently been granted for counsel

named below to represent UT Austin Defendants. Now, counsel for UT Austin Defendants

propose that the Court set a new response date on or before September 12, 2023 to answer, move

or otherwise respond to the complaint.

                              ARGUMENT AND AUTHORITIES

       Pursuant to the Court’s June Closure Order, defendants ask the Court to “reopen the case

earlier” so that the parties may set a response date for UT Austin Defendants that could serve as a

common response date for all defendants if they are served. Closure Order (Dkt. #21) (June 15,

2023). “An application under Rule 6(b)(1) normally will be granted in the absence of bad faith or

prejudice to the adverse party.” 4A Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure §1165, at 475 (2d ed. 1987). Good cause for the requested extension exists because (1)

defendants only recently received approval to secure counsel, (2) no defendants other than UT

Austin and its officials have been served, (3) Plaintiff will not be prejudiced by the extension, and

(4) the parties would benefit from additional time to carefully review the new opinion issued by

the United States Supreme Court on June 29, 2023.

       As noted, Plaintiff does not oppose this motion. Because no other defendants have been

served, the requested response date would allow Plaintiff additional time to serve other defendants


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if he intends to pursue this lawsuit against all the named defendants. The current motion is also

consistent with parties’ past practice of agreeing “to additional extensions of the deadline if the

defendants or their counsel want to wait for the pending Supreme Court rulings” in Students for

Fair Admissions v. President & Fellows of Harvard College and Students for Fair Admissions v.

University of North Carolina, et al., (Consolidated at No. 20-1199). Pl.’s Resp. to Defs.’ Mot. to

Abate (Dkt. #17) at 1 (Apr. 9, 2023). Because the Supreme Court of the United States only issued

an opinion in these cases on June 29, 2023, the requested response date will provide UT Austin

Defendants and newly retained counsel time to carefully review the Court’s opinion and assess

claims and defenses.

                                     CLAIM FOR RELIEF

        Without waiving any objections or defenses, and upon reopening of this case from its

Administrative Closure for the sole purpose of an extension, UT Austin Defendants move to set

the date to plead, move, or otherwise respond to the complaint for on or before September 12,

2023.



Dated: June 30, 2023.
                                                     Respectfully submitted,




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                                                     /s/ Layne E. Kruse
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                                                     Counsel for Defendants The University of
                                                     Texas at Austin, Jay Hartzell, Claudia
                                                     Lucchinetti, Steve Smith, and Joel Daboub




                             CERTIFICATE OF CONFERENCE

       I certify that on June 29, 2023, I sent Plaintiff’s counsel a draft of this motion, and I

confirmed by email with Plaintiff’s counsel Jonathan Mitchell that he is unopposed to this motion.



                                              /s/ Layne E. Kruse
                                              Layne E. Kruse




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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 30, 2023, the foregoing was electronically filed with the

Clerk of the Court using the CM/ECF system which will send a notice of electronic filing to

all counsel of record.



                                             /s/ Layne E. Kruse
                                             Layne E. Kruse




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